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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA


 City of Santa Monica                               CASE NUMBER:

                                    Plaintiff(s)
                         v.
                                                           CV 13-8046-JFW (VBKx)

 United States of America, et al.                   ORDER VACATING SCHEDULING CONFERENCE
                                                                     AND
                                    Defendant(s).      REFERRAL TO PRIVATE MEDIATION


The Court has reviewed the parties' Joint Rule 26(f) Report and finds that a Scheduling
Conference is not necessary. The hearing on August 22, 2016 is vacated and taken off calendar.
A Scheduling and Case Management Order will issue. Any unserved DOE defendants are
dismissed at this time.

The Court, having considered the parties’ Request: ADR Procedure Selection, the Notice to
Parties of Court-Directed ADR Program, or the report submitted by the parties pursuant to Fed.
R. Civ. P. 26(f) and Civil L.R. 26-1, hereby:

   ORDERS this case referred to:

   G ADR PROCEDURE NO. 1: (G district judge or G magistrate judge assigned to the case for
       such settlement proceedings as the judge may conduct or direct).

   G ADR PROCEDURE NO. 2: This case is referred to the ADR Program. Within twenty-
       one (21) days, plaintiff shall obtain the consent of a neutral listed on the Court’s
       Mediation Panel who will conduct the mediation, and file form ADR-2, Stipulation
       Regarding Selection of Panel Mediator. If the parties have not selected and obtained the
       consent of a Panel Mediator within twenty-one (21) days, the ADR Program (213-894-
       2993) will assign one. Forms and a list of the Panel Mediators are available on the Court
       website, www.cacd.uscourts.gov. Absent extraordinary circumstances, parties cannot
       request a continuance within three (3) business days of a scheduled mediation.

   :   ADR PROCEDURE NO. 3: (Private mediation).

   The ADR proceeding is to be completed no later than: March 7, 2017
   The Joint Report re: Results of Settlement Conference due on: March 14, 2017

 For ADR Procedure Nos. 1 and 3, counsel are responsible for contacting the judge or private mediator
at the appropriate time to arrange for further proceedings.

Dated: August 11, 2016
                                                       ___________________________
cc: ADR Coordinator                                    United States District Judge
